
Shaw, C. J.
This is assumpsit for the support of a pauper ; and the case depends wholly on a question of settlement. The pauper was born in Rhode Island. Her father never had a settlement in this state; but her mother, Almira Saunders, was the daughter of John Dennis of Marblehead, who had a settlement there. Of course, by Rev. Sts. c. 45, § 1, ch 2, following in this respect St. 1793, c. 34, § 2, the pauper took the settlement of her mother, Almira Saunders, formerly Dennis. Almira clearly took the settlement of her father in Marble-head ; and the only question is, whether, on the change of the domicil of her mother to Grafton, by her intermarriage with Warren, during the minority of Almira, the settlement of the latter changed to Grafton. And we are of opinion that it did not.
*529A legitimate child takes and follows the settlement of the father, if he has one; but if he has none, then the settlement of the mother. Had Almira derived her settlement from her mother, and during her minority that of her mother had changed, she would have followed it. Great Barrington v. Tyringham, 18 Pick. 264; Springfield v. Wilbraham, 4 Mass. 493. By force of the statute, it is only in case the father has no settlement, that the child acquires the settlement of the mother. And so it has been held, that a child having a settlement by its father, cannot acquire the settlement of the mother. Scituate v. Hanover, 7 Pick. 140.
The cases cited by the counsel for the defendant, to show that the settlement of minor children changes by the change of the settlement of the mother by marriage, are cases where the minors derived their settlement from their mothers, and had none from their fathers. Plymouth v. Freetown, 1 Pick. 197; Parsonsfield v. Kennebunkport, 4 Greenl. 47.
Here, Almira Dennis took the settlement of her father; and this did not change by the intermarriage of her mother, but remained in Marblehead; and this settlement she transmitted to her daughter the pauper.

Judgment for the plaintiffs.

J. J. Clarke, for the plaintiffs.
N. J. Lord, for the defendants.
